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                 Exhibit 1
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                              UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA

IN RE: ROUNDUP PRODUCTS
LIABILITY LITIGATION                                  MDL No. 2741

                                                      Case No. 16-md-02741-VC
This document relates to:
ALL ACTIONS



                            PROPOSED PLAINTIFF FACT SHEET

        You are required to provide the following information regarding yourself, or for each
 individual on whose behalf you are asserting legal claims in the above lawsuit. Each question
 must be answered in full, but you may approximate where specified below. If you do not know
 or cannot recall the information needed to answer a question, please indicate that in response to
 the question. Please do not leave any questions unanswered or blank, and use additional sheets
 as needed to fully respond.


 I. REPRESENTATIVE CAPACITY

    A.      If you are completing this Fact Sheet on behalf of someone else (e.g., a deceased
            person, an incapacitated person, or a minor), please complete the following:

                1.
                       Your Name

                2.
                       Your Home Address

                3.     What is your relationship to the person upon whose behalf you have
                       completed this Fact Sheet? (e.g., parent, guardian, Estate Administrator)



 [If you are completing this questionnaire in a representative capacity, please respond to the
 remaining questions on behalf of the person who used or was exposed to Roundup® or
 other glyphosate-based herbicides.]




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II. PERSONAL INFORMATION

     A.   Name:

          Other Names by which you have been known (from prior marriages or
          otherwise, if any):

     B.   Sex:

     C.   Social Security Number: _______________________

     D.   Driver’s License Number:

          State of Issuance:

     E.   Date and Place of Birth (City, State, Country):



     F.   For each different city where you have lived for the past twenty-five (25) years,
          provide the following information:

                    City and State                  Approximate Dates You Lived There
            (include Country if outside the            (Month/Year to Month/Year)
                    United States)




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        G.     Please complete the chart below detailing your employment history for the past
               twenty-five (25) years. If there were periods of retirement, unemployment, or
               student status during the past 25 years, including those as well.

Number       Name of       City and State     Approximate        Occupation         Job Duties
             Employer       Where You           Dates of         or Job Title
                              Worked          Employment
                                             (Month/Year to
                                              Month/Year)
    1

    2

    3

    4

        H.     Workplace Checklist: Have you ever worked in any of the occupations or workplaces
               listed below? If so, please check “yes” and then list the number(s) in the chart in
               section (G) above that corresponds to that occupation.

Industry                        Yes          No        Number in Chart in
                                                       Section G (see above)
Car Mechanic
Cleaning/Maid Service
Electrician
Farming/agricultural
Hairdressing
Handled fission products
Handled jet propellant
Handled solvents
Horticultural
Hospitals and Clinics
Landscaping
Metal Working
Painting
Pest Exterminator
Pesticide use
Petroleum Refinery
Rubber Factory
Schoolteacher
Textile
Woodworking
X-radiation or gamma-
radiation (regular exposure)


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   III. FAMILY INFORMATION

           A.     For any grandparent, parent, sibling, or child who has been diagnosed with
                  cancer or who has died, please provide the following information. Please
                  include any adopted or step-children or siblings.

Name Relationship Approximate          Approximate         Cause     Diagnosed       Date/Type
                   Birth Year            Date of            of          with
                                          Death            Death      cancer?




  IV. PERSONAL MEDICAL HISTORY

     A.      To the best of your ability, please list all healthcare providers (not including
             pharmacies) where you have received treatment over the last 25 years. For each,
             please provide the name, city and state, approximate dates of care, and the reason
             for your visit. Please also execute the medical authorizations included in
             Exhibit A.

                  1.



                  2.



                  3.



                  4.



                  5.



                  6.



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     B.        Please indicate whether your medical history includes any of the following
               conditions, procedures, or medications:

                    Condition, Procedure, or Medication: Yes        No     Treating
                                                                           Physician
                    Diabetes
                    Obesity
                    Auto-immune diseases (including but
                    not limited to Crohn’s disease,
                    Ulcerative Colitis, HIV)
                    Epstein Barr
                    Ulcers
                    Celiac Disease
                    Hepatitis C
                    Eczema
                    Radiation
                    Smoking
                    Lupus
                    Rheumatoid Arthritis
                    Organ, stem cell, or other transplant
                    Immunosuppressive Medications

V.        CANCER HISTORY

          A.      Have you been diagnosed with non-Hodgkin's lymphoma, or “NHL”?
                  Yes          No

          B.      When were you first diagnosed with NHL?
                  Year        Month

          C.      Approximately when did you first begin experiencing symptoms of NHL?
                  Year        Month

     D.        Please list the names of the physician(s) that first diagnosed you with NHL and the
               city and state in which you were diagnosed.




     E.        Please list the names of the primary oncologist(s) who have treated your NHL.




     F.        Describe your NHL. For example, do you have B-cell or T-cell NHL? Is it
               aggressive or indolent? Small cell or large cell? Any other details? (If you have
               Mycosis Fungoides, make sure to specify this.)
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G.      Have you been diagnosed with any types of cancer other than NHL?
           Yes         No

H.      If yes, please answer the following questions for each type of cancer that you have
        been diagnosed with other than NHL:

           1.      What type of cancer was diagnosed (including sub-type, if applicable)?



           2.      On approximately what date did you first experience any symptoms
                   that you believe are related to that cancer?



             3.     Please list the names of the physician(s) that first diagnosed you with
                    that cancer.

             4.     Please list the names of the primary oncologist(s) who have treated that
                    cancer.



I.      Has any physician or healthcare provider ever told you that you have a genetic
        predisposition for developing NHL or other types of cancer?

           If yes, answer the following:

             1.    Name, location (city and state), and occupation of the person who told you
                   this.



                    2.    What were you specifically told about your genetic predisposition?




             3.    Approximately when were you told this information?


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VI. PRIOR CLAIMS, LEGAL MATTERS, AND MEDICAL COVERAGE

  A.      Have you ever filed a workers’ compensation claim for accidents or injuries
          relating to substance exposure in the workplace? (Answer “no” if you have
          only filed workers’ compensation claims unrelated to substance exposure.)

          Yes           No
          If yes, please state:
              1.      Approximate date the claim was filed with your employer, or date that
                      you notified employer of accident/injury giving rise to workers’
                      compensation claim:



               2.       Nature of injury or accident claimed (what happened):




  B.      Have you ever filed a claim for Social Security disability insurance benefits
          (“SSDI”) for a disability caused by substance exposure in the workplace?
          (Answer “no” if you have only filed SSDI claims unrelated to substance
          exposure.)

          Yes           No
          If yes, please state:

          1.        Approximate date the claim was filed with the Social Security Administration:



          2.        Nature of disability giving rise to claim:




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C.      Have you ever filed any other type of disability claim for a disability caused by
        substance exposure in the workplace? (Answer “no” if you have only filed other
        disability claims unrelated to substance exposure.)

        Yes           No
        If yes, please state:

        1.      Approximate date claim was filed:

        2.      Name of insurer/employer/government or other party to whom claim was

                made and, if applicable, claim number assigned:




        3.      Nature of disability giving rise to claim:




D.      Have you ever been denied life insurance for reasons relating to your medical,
        physical, psychiatric or emotional condition?
        Yes          No

        If yes, please state when, the name of the company, and the reason(s) for denial.




E.      Have you ever been denied medical insurance?
        Yes           No
        If yes, please state when, the name of the company, and the reason(s) for denial.




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    F.   Have you ever filed a lawsuit or claim (including administrative charges,
         unemployment claims, and bankruptcy petitions) against anyone aside from
         the present lawsuit?
         Yes             No
         If yes, for each lawsuit, state (1) the court in which the lawsuit was filed; (2) the

         case name; (3) the civil action or docket number assigned to the lawsuit; (4) a

         description of your claims in the lawsuit; and (5) the final result, outcome, or

         adjudication of claims (e.g., whether the lawsuit was dismissed by parties,

         dismissed by court, judgment granted in favor of a party).




VII. ROUNDUP® AND OTHER GLYPHOSATE-BASED HERBICIDES

    A.   Have you used Roundup® or other glyphosate-based products?

         Yes           No

    B.   When did you first begin using Roundup® or other glyphosate-based products?

         Year           Month




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          C.       Please complete the chart below to detail your exposure to Roundup® and other
                    glyphosate-based products. Use as many rows as necessary to describe different
                    periods of usage.

    Dates of   Product Name              Frequency          Usage             Type of           Reason         Location
     Usage     (Please specify               of                                 Usage1             for             of
              which products             Exposure                           (Check all           Usage         Exposure
               are Roundup®                                                that apply):                        (City and
                 products.)                                                                                      State)
    Example: Example:                   Example:          Example: I      Example:            Example:        Example:
    1980-1985 Roundup®                  Once per          sprayed        Residential: _       To              Oakland,
              Grass and                 week              Roundup®       IT&O: __             control         CA
              Weed Killer                                 in my yard                          weeds on
                                                                         Agricultural:
                                                          using a                             my
                                                          hand                                personal
                                                          sprayer.                            property.
                                                                         Example:
                                                                         Residential: _
                                                                         IT&O: __
                                                                         Agricultural:

                                                                         Example:
                                                                         Residential: _
                                                                         IT&O: __
                                                                         Agricultural:

                                                                         Example:
                                                                         Residential: _
                                                                         IT&O: __
                                                                         Agricultural:


    D.         Describe any precautions you took while using these products (examples: wearing

               gloves, a mask, or other protective gear).




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1
 Residential use includes using the product in your lawn, garden, or place of residence. Industrial, Turf, and
Ornamental (“IT&O”) includes using the product in areas such as golf courses, nurseries, roadsides, or for turf
management or landscaping. Agricultural use includes using the product to assist with farming or harvesting crops.
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     E.       For the products identified in the chart above, do you have the receipts, proof of
              purchase, or store of purchase for each product you claim to have used?

                   Yes        No        _

     To the extent you have receipts, proof of purchase, or store of purchase for these
     products, please provide copies of those receipts and other documents.

     F.       Please complete the chart below to detail your exposure to other herbicides or
              pesticides. Use as many rows as necessary to detail different periods of usage.

  Dates of        Type and Brand of          Frequency of            Usage          Reason for
   Usage         Herbicide or Pesticide        Exposure                               Usage
 Example:       Example: Viper              Example: every      Example: I       Example: I used
 2000-2010      Insecticide Concentrate     weekday             sprayed it using the pesticide in
                                                                a pump sprayer. my job as an
                                                                                 exterminator.




   VIII. DAMAGES CLAIMS
           A.      If you are claiming loss of income due to injuries allegedly caused by
                   Roundup® or other glyphosate-based herbicides, complete the following for
                   each of your employers, starting ten (10) years prior to your first diagnosis
                   with cancer (whether NHL or another type of cancer) and continuing through
                   today.

Employer     Location    Hours per     Day or     Approximate      How much money did you make in
              (City       Week         Night        Dates of        this job per week? Please specify
               and                     Shift      Employment       how much was due to overtime pay
              State)                                                           or bonuses.




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B.      State the total amount of time that you have lost from work as a result of any
        medical condition that you claim was caused by Roundup® or other Monsanto
        glyphosate-based herbicides, and the amount of income that you lost:

           1.      Medical Condition:

           2.      Total number of days lost from work due to above medical condition or if
                   forced retirement, date of retirement:

                                          days

           3.      Estimated total income lost (to date) from missed work, including

                   explanation as to method used to calculate number:




C.      Have you paid or incurred any out-of-pocket medical expenses (that is, expenses not
        paid by your insurance company or by a government health program) related to any
        condition that you claim or believe was caused by Roundup® or other Monsanto
        glyphosate-based products for which you seek recovery in this lawsuit?

           Yes         No

           If yes, please state the total amount of such expenses at this time: $

D.      If you are making any claims for other non-medical out-of-pocket expenses, please
        complete the following:

           1.      For what?

           2.      Amount of fees or expenses: $

E.      Please list the names of all insurers or government health programs who have been
        billed for or paid medical expenses related to any condition that you claim or believe

        was caused by Roundup® or other Monsanto glyphosate-based products for which you
        seek recovery in this lawsuit.




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IX. DOCUMENTS

Please attach the following documents to this Fact Sheet, making certain that all releases are
signed and dated within 30 days of submission:

   A.       Medical records release (Ex. A)—execute one per healthcare provider (including
            mental health, only if you are claiming mental health damages, including emotional
            distress, in the lawsuit). Plaintiffs’ counsel will also obtain 10 blank forms covering
            past 25 years, and if Monsanto identifies additional health care providers not
            identified in the PFS or on Exhibit A, Plaintiff will fill in that health care provider
            and provide to Monsanto within seven days of the request.

   B.       Employment history release (Ex. B)—execute one for each employer in past 25
            years.

   C.       Workers' compensation, social security disability, and insurance claims releases
            (Ex. C).

   D.       Tax records and social security income release for the past 10 years (Ex. D).

   E.       If applicable, decedent's death certificate.


                                          DECLARATION

         I declare under penalty of perjury that all of the information provided in this Plaintiff’s

Fact Sheet is true and correct to the best of my knowledge, information and belief, and that I

have supplied all the documents requested in Part IX of this Declaration, to the extent that such

documents are in my possession, custody, or control, or in the possession of my lawyers.




Signature                                                           Date



Name (Printed)




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